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What A Smoke, LLC.

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

What A Smoke, LLC,
                                         CIVIL ACTION NO.:
                   Plaintiff,

v.                                       COMPLAINT FOR TRADEMARK
                                         INFRINGEMENT, TRADE DRESS
Duracell US Operations, Inc., aka        INFRINGEMENT, FALSE
Duracell U.S. Operations, Inc.,          DESIGNATION OF ORIGIN,
Duracell Inc., Duracell                  UNFAIR COMPETITION AND
International Inc., and                  UNJUST ENRICHMENT
www.duracell.com

                   Defendants.



     Plaintiff What A Smoke, LLC (“What A Smoke” or

“Plaintiff”), through its attorneys, sues defendant named above

and says:

                         STATEMENT OF THE CASE

     This is a suit by What A Smoke against Defendants Duracell

US Operations, Inc., also known as Duracell U.S. Operations,

Inc., and their related and/or parent corporate entities,

namely, Duracell Inc., and Duracell International Inc., and



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their website (hereinafter collectively and individually

referred to as “Duracell” or “Defendants”), for a permanent

injunction, damages, treble damages or profits, compensatory

damages, punitive damages, pre-judgment interest, attorneys’

fees and costs from Defendants for their willful and malicious

acts.   Namely, Defendants are being sued by What A Smoke as a

result of Defendants’ sale, offers for sale, distribution,

promotion and advertisement of their batteries under Plaintiff’s

OPTIMUM trademark, and under a combination of Plaintiff’s

OPTIMUM trademark and Defendant’s DURACELL trademark, i.e.,

DURACELL OPTIMUM, by unlawfully using What A Smoke’s trademark

and trade dress.

     As set forth below, the unlawful acts of Defendants

constitute federal trademark infringement, state common law

trademark infringement, fraud on the USPTO, trade dress

infringement, unfair competition, unjust enrichment, tortious

interference with prospective economic advantage, intentional

interference with prospective economic advantage, under Federal

and New Jersey common law.



               SUBJECT MATTER JURISDICTION AND VENUE

                     Subject Matter Jurisdiction




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     1.    This Court has jurisdiction under 17 U.S.C. §101 et

seq.; 28 U.S.C. §1331(federal question); and 28 U.S.C. §1338(a)

(trademark). This Court has jurisdiction over claims for

trademark infringement under 15 U.S.C § 1121(a), and claims for

fraud on the USPTO under 15 U.S.C. §1120, and unfair competition

asserted in this action pursuant to 28 U.S.C. § 1338(b).

     2.    This Court has supplemental jurisdiction over the

claims in the Complaint that arise under the statutory and

common law of the State of New Jersey pursuant to 28 U.S.C §

1367(a) because the state law claims are so related to the

federal claims that they form part of the same case or

controversy and derive from a common nucleus of operative facts.

                                  Venue

     3.    Venue is proper in the Court pursuant to 28 U.S.C. §

1391(b), 28 U.S. Code § 1332 and/or § 1400(a) because a

substantial part of the events or omissions giving rise to the

claims asserted herein occurred within this District and were

directed to this District. Furthermore, venue is proper in New

Jersey because the defendant Duracell, a corporation that

operates in the State of New Jersey, by virtue of offering its

products for sale and by advertising its products in New Jersey

to the detriment of the Plaintiffs, and there is no adequate

alternative forum to hear the case (Fed. R. Civ. P. 4(k)(2)).



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                       PARTIES AND JURISDICTION

     4.     Plaintiff What A Smoke, LLC, is a Limited Liability

Company organized and existing under the laws of the State of

New Jersey, having an office address and principal place of

business at 191 US-206, Suite 4, Flanders, New Jersey 07836.

What A Smoke is owned by Mark Anton, who started What A Smoke in

the year 2008. What A Smoke has been conducting and conducts

business in this District.

     5.     Upon information and belief, defendant Duracell US

Operations, Inc., aka Duracell U.S. Operations, Inc., a Delaware

State corporation, operates in the State of New Jersey by virtue

of offering for sale and advertising its goods in the State of

New Jersey, i.e., in and directed to this District to the

detriment of the Plaintiff.

     6.     Defendant Duracell US Operations, Inc., is the current

owner of the two infringing USPTO trademark applications Serial

Numbers 88/190,116 for OPTIMUM, and 88/190,119 for DURACELL

OPTIMUM.

     7.     Defendant Duracell committed the acts complained

herein that concern and relate to allegations that concern or

relate to trademark infringement and other unlawful acts by

Duracell.



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     8.    Duracell has committed the acts complained of herein

in this District. Duracell knew its wrongful acts would have a

devastating impact upon What A Smoke by interfering with What A

Smoke’s business and creating confusion, and reverse confusion,

in the minds of customers as to the sources of the respective

goods sold by Plaintiff and Defendant in this District, thus

affecting sales and revenue of What A Smoke, who Duracell knew

to be located and operating its business in New Jersey; and

Duracell specifically directed actions against What A Smoke and

its business in this District by selling and advertising for

sale its goods in this District under Plaintiff’s OPTIMUM

trademark, resulting in substantial irreparable loss of business,

in blatant disregard of What A Smoke’s trademark ownership and

its business in New Jersey and in this District.

     9.    Upon information and belief, Defendant owns and

controls the website <www.duracell.com> (the “Duracell

Website”). Upon information and belief, the Duracell Website has

been used to appropriate What A Smoke’s OPTIMUM trademark by

using What A Smoke’s OPTIMUM trademark to advertise similar or

identical goods, namely, batteries, to those of What A Smoke on

Duracell website, and to advertise, distribute, promote, and

offer for sale batteries bearing OPTIMUM and DURACELL OPTIMUM

trademarks, which creates confusion in the minds of consumers as



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to the source of the relevant goods within this District,

resulting in loss of income to Plaintiff. See attached Exhibit

“A”.




       10.   Upon information and belief, Duracell continues to

advertise on the Duracell Website, i.e.,


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https://www.duracell.com/en-us/campaign-optimum/, its batteries

in this District by using What A Smoke’s OPTIMUM trademark,

i.e., identical trademark to Plaintiff’s trademark on goods

identical or similar to those of What A Smoke on the Duracell

Website, and to advertise, distribute, promote, and offer

batteries bearing OPTIMUM and DURACELL OPTIMUM trademarks, which

are confusingly similar to Plaintiff’s OPTIMUM trademark,

wherein customers within this District were, have been, and are

continuing to be led to believe that Plaintiff’s goods are those

of the Defendant, or vice versa, and to be confused as to the

source of the parties’ respective batteries products, resulting

in dilution of Plaintiff’s trademark and loss of income to

Plaintiff. See Exhibit “B”.

     11.   This Court has personal jurisdiction over Duracell

because it operates in this District through its infringing

activities, said activities being a basis of unfair competition

against What A Smoke because the Defendant knowingly violated

Plaintiff’s trademark rights under 15 U.S. Code § 1121(a),

including by committing fraud on the USPTO under 15 U.S. Code §

1120, and committed unfair competition asserted in this action

pursuant to 28 U.S.C. § 1338(b).        Defendant has applied for a

trademark registration of two marks, i.e., OPTIMUM and DURACELL

OPTIMUM, with the USPTO, both are identical and confusingly



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similar to Plaintiff’s OPTIMUM trademarks, i.e., rights offered

under US Federal law, said applications for the marks that are

advertised in respect of sales of goods directed to this

District and Defendant Duracell is a primary participant in the

alleged action complained of herein regarding trademark

infringement. Defendant has purposefully availed itself to US

District Courts as it approved and caused the filing of the

subject trademark applications knowing they would infringe on

Plaintiff’s senior trademark rights and would influence the

market in this District.

     12.   This Court has personal jurisdiction over Defendant

because it has sold and continues to sell falsely advertised

goods under Plaintiff’s trademarks through its company website

and other media in this District, and/or in the same streams of

commerce as those of Plaintiff, with knowledge that said goods

would be sold in this District. Upon information and belief,

such advertisements and sales of batteries by Defendant are

substantial, continuous, and systematic.



                          STATEMENT OF CLAIM

     13.   What A Smoke is a leading innovator, manufacturer and

marketer of safe e-cigarette products under its OPTIMUM brand,

including batteries and electric chargers therefor, and is in



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the business of bringing safe nicotine delivery device products

to the market focusing on the safety of the users of Plaintiff’s

products. See Exhibits “C1”, “C2”, and “C3”.

      14.   What A Smoke owns two (2) trademark registrations with

the USPTO for the OPTIMUM brand, namely, Registration Numbers

5,016,639 and 5,016,640, both registered in respect of the

following goods: “Power sources, namely, batteries, battery

chargers and AC power adapters for electronic cigarettes” in

International Class 9 and “Atomizers, tanks, refill cartridges

and liquids for electronic cigarettes” in International Class

34.

      15.   Duracell's use of the OPTIMUM mark is willful and

intentional. Duracell first became aware of What A Smoke’s

OPTIMUM mark when it filed its own trademark applications for

OPTIMUM and DURACELL OPTIMUM trademarks in Class 9 on November

12, 2018, under application serial numbers 88/190,116, and

88/190,119. When filing its trademark applications for its two

trademarks in question, Duracell signed a Declaration in each of

the two Duracell’s trademark applications in question,

explicitly stating that “To the best of the signatory's

knowledge and belief, no other persons, except, if applicable,

concurrent users, have the right to use the mark in commerce,

either in the identical form or in such near resemblance as to



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be likely, when used on or in connection with the goods/services

of such other persons, to cause confusion or mistake, or to

deceive.    To the best of the signatory's knowledge, information,

and belief, formed after an inquiry reasonable under the

circumstances, the allegations and other factual contentions

made above have evidentiary support.         The signatory being warned

that willful false statements and the like are punishable by

fine or imprisonment, or both, under 18 U.S.C. § 1001, and that

such willful false statements and the like may jeopardize the

validity of the application or submission or any registration

resulting therefrom, declares that all statements made of

his/her own knowledge are true and all statements made on

information and belief are believed to be true.”. By way of a

quick and simple trademark search of the USPTO records before

the filing of its two infringing trademark applications Duracell

should have discovered, and undoubtedly it did in fact discover

What A Smoke’s two trademark registrations for OPTIMUM in Class

9, yet Duracell submitted a declaration in its trademark

application for an identical OPTIMUM mark to that of

Plaintiff’s, to the USPTO, anyway, that it was not aware of any

similar marks out there, or senior trademark rights of others,

on which it could infringe by filing its applications, which can

only be characterized as a willful and intentional misstatement



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and misrepresentation of facts with blatant disregard of the

senior trademark rights of What A Smoke, if not an outright

fraud on the USPTO.

      16.   Defendant Duracell's infringing use of What A Smoke’s

OPTIMUM mark is willful and intentional. Duracell was clearly

aware of What A Smoke’s mark OPTIMUM when it filed trademark

applications for the one identical OPTIMUM trademark with the

USPTO, i.e., application serial number 88/190,116, and for the

other trademark containing Plaintiff’s OPTIMUM trademark, which

is a combination of What A Smoke’s OPTIMUM and DURACELL mark,

i.e., DURACELL OPTIMUM, application serial number 88/190,119 on

November 12, 2018.     The US Patent and Trademark Office examiner

who is in charge of reviewing both of Duracell’s trademark

applications in question refused to register Duracell’s OPTIMUM

and DURACELL OPTIMUM marks because the examiner correctly

concluded that both Duracell’s marks were confusingly similar to

What A Smoke’s senior OPTIMUM mark. Both Duracell’s trademark

applications are currently properly rejected by the United

States Patent and Trademark Office on the grounds of a

likelihood of confusion with What A Smoke’s senior OPTIMUM mark.

      17.   In response to the USPTO examiner’s rejections in

Duracell’s two infringing trademark applications, Duracell

reached out to What A Smoke asking for permission to use OPTIMUM



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mark on batteries.     Through What A Smoke’s counsel, Duracell

counsel was provided with evidence of What A Smoke’s prior and

senior use of the OPTIMUM marks in commerce for batteries.

Discussions to resolve this issue were ongoing when, to

Plaintiff’s complete and utter shock, and without permission or

any communication to Plaintiff whatsoever, Duracell launched its

product for batteries using Plaintiff’s OPTIMUM mark.

      18.   Duracell is currently engaging in an extensive and

expensive marketing campaign design to generate millions, if not

billions, of dollars of sales revenue to Duracell and a business

of Plaintiff’s size cannot compete against it. The time, effort

and money that Plaintiff has invested in its business is being

trampled by Duracell knowingly, willingly, intentionally, and in

complete disregard of Plaintiff’s senior trademark rights in the

mark OPTIMUM in respect of international class 9 goods,

including batteries. Duracell began promoting and selling its

batteries under Plaintiff’s OPTIMUM brand, and also as DURACELL

OPTIMUM, all in violation of Plaintiff’s senior trademark

rights, since about July 15, 2019, to the best of Plaintiff’s

knowledge, and Duracell continues to do so, to Plaintiff’s

detriment.

                                  COUNT I




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   Trademark Infringement (Infringement of Plaintiff’s OPTIMUM

            Trademark Reg. Nos. 5,016,639 and 5,016,640)

      19.   What A Smoke incorporates all above allegations as if

set forth completely herein.

      20.   What A Smoke is the exclusive owner of US Trademark

Registration No. 5,016,639 and 5,016,640 for OPTIMUM in respect

of “power sources, namely, batteries, battery chargers and AC

power adapters for electronic cigarettes” in International Class

9, and “atomizers, tanks, refill cartridges and liquids for

electronic cigarettes” in International Class 34.

      21.   Defendant Duracell US Operations, Inc., has copied

Plaintiff’s trademark and has been selling and advertising for

sale their batteries, i.e., the same goods that Plaintiff

advertises and sells, in this District, in the same channels of

trade, under the identical trademark and is using the identical

or very similar color scheme packaging box that contain goods

Defendant has sold and continues to sell in US commerce

including in this District.

      22.   What A Smoke has never authorized Defendant to use its

trademark in respect of identical and similar goods to those of

the Plaintiff.

      23.   Defendants Duracell Inc., and Duracell International,

Inc., in their capacity of related and/or parent companies to



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the co-defendant Duracell US Operations, Inc., have vicarious

liability for all tortious actions of the co-defendant Duracell

US Operations, Inc., where they tortuously, negligently and

intentionally allowed it to copy Plaintiff’s trademark and to

sell and advertise for sale their batteries, i.e., the same

goods that Plaintiff advertises and sells, in this District,

under the identical trademark, and is using the identical or

very similar color scheme packaging box that contain goods

Defendant has sold and continues to sell in US commerce

including in this District.

      24.   The foregoing acts of infringement are willful,

intentional, and in disregard of and with indifference to the

rights of What A Smoke.

      25. As a result of Defendant’s infringement of What A

Smoke’s exclusive trademark rights, What A Smoke is entitled to

relief pursuant to trademark rights under 15 U.S. Code §

1121(a), and to its attorneys' fees and costs pursuant to 15

U.S.C. §1117(a).

      26.   The acts of Defendant’s are causing and, unless

enjoined and restrained by this Court, will continue to cause

What A Smoke irreparable injury. What A Smoke has no adequate

remedy at law. Pursuant to 15 U.S.C. §1116, Plaintiff is

entitled to injunctive relief prohibiting Defendants from



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further infringing Plaintiff’s trademark and ordering that

Defendants stop selling and advertising for sale their batteries

by using Plaintiff’s OPTIMUM trademark and the DURACELL OPTIMUM

trademark.

                                 COUNT II

  Trade Dress Infringement/Unfair Competition, 15 U.S.C. § 1125

      27.   Plaintiff incorporates all above allegations as if set

forth completely herein.

      28.   Plaintiff markets, offers, sells, and delivers in U.S.

interstate commerce its distinctly packaged OPTIMUM e-cigarettes

and batteries and chargers therefore.

      29.   What A Smoke manufactures its battery products

utilizing a predominantly black packaging with the word

“OPTIMUM” in a contrasting color scheme. Defendant’s OPTIMUM

batteries also utilize a predominantly black packaging with the

word “OPTIMUM” in a contrasting color scheme. Additionally, What

A Smoke has used the aforementioned OPTIMUM packaging with its

numerous other products with the black packaging and a

coordinated color scheme since at least 2009. Through usage of

the consistently uniform color scheme in question, What A Smoke

has built a recognizable brand that is identified by consumers

with its high quality and safe e-cigarettes, e-cigarette

batteries and chargers, atomizers, charging cables.           What A



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Smoke’s customers have come to expect high quality batteries and

chargers when they buy a black colored package with the word

OPTIMUM on it.

      30. Prior to Defendants’ infringing conduct that forms the

basis for this Complaint, consumers had come to associate the

distinctive “look and feel” of the OPTIMUM packaging, which

black packaging in a contrasting color scheme with the word

OPTIMUM on it.

      31. Through its promotional efforts, business conduct, and

continuous sales of the OPTIMUM e-cigarettes and batteries and

chargers therefor and their associated trade dress, Plaintiff

has developed and maintained customers globally and throughout

the United States, including in the State of New Jersey. Through

its widespread and favorable acceptance and recognition by the

consuming public, the “look and feel” of Plaintiff’s OPTIMUM

products has become an asset of substantial value as a symbol of

What A Smoke, its high quality products and services, and its

goodwill.

      32. Accordingly, Plaintiff has established valid and

enforceable rights in the “look and feel” of the OPTIMUM

packaging, as described above.

      33. Notwithstanding Plaintiff’s preexisting valid and

enforceable rights in the look of Plaintiff’s OPTIMUM packaging,



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Defendants, without permission or approval, are using

Plaintiff’s trade dress, or a trade dress that is confusingly

similar to Plaintiff’s, on their batteries’ packaging by

offering for sale their own batteries that have very similar, or

substantially the same “look and feel” as Plaintiff’s OPTIMUM

packaging, which packaging Defendants sell and continue to sell

in the United States, including in the State of New Jersey.

      34. As a result of Defendants’ unauthorized sale of their

products under Plaintiff’s trademark and trade dress that is

substantially the same as the Plaintiff’s, Defendants’ have been

using and continue to use without authorization Plaintiff’s

trade dress in connection with Defendants’ products.

      35. Plaintiff and Defendants sell (and have been selling)

their respective products to customers and clients and/or the

relevant consumer base in the same geographical locations and

through the same trade channels.

      36. Defendants are direct competitors of Plaintiff.

      37. Defendants’ unauthorized use of the “look and feel” of

Plaintiff’s contrasting color scheme packaging, in connection

with offering for sale and selling their batteries under

Plaintiff’s OPTIMUM mark, is not authorized by Plaintiff and is

likely to cause consumer confusion and mistake, and to deceive




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consumers as to the source, origin, or affiliation of

Plaintiff’s products.

      38. Plaintiff has a discernible interest in the “look and

feel” of its products’ packaging, and Plaintiff has been, and

continues to be, injured by Defendants’ unauthorized and

unlawful use of Plaintiff’s trade dress.

      39. Defendants’ unauthorized use of the “look and feel” of

Plaintiff’s packaging, in connection with unauthorized sale of

Defendants’ products bearing Plaintiff’s OPTIMUM mark, is

causing confusion among purchasers and potential purchasers of

Plaintiff’s products.

      40. The acts by Defendants described above constitute an

infringement and misappropriation of What A Smoke’s rights in

and to the use of the “look and feel” of the What A Smoke’s

OPTIMUM packaging, with consequent damages to What A Smoke and

the business and goodwill associated with and symbolized by What

A Smoke’s trade dress, and, specifically, give rise to this

claim under 15 U.S.C. § 1125.

      41. Defendants’ acts of unfair competition have caused and

are causing great and irreparable harm to What A Smoke, What A

Smoke’s goodwill, and What A Smoke’s rights in and to the “look

and feel” of the What A Smoke distinct packaging, in an amount

which cannot be adequately determined at this time and, unless



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restrained, will cause further irreparable injury and damage,

leaving What A Smoke with no adequate remedy at law.

      42. On information and belief, Defendants’ acts of

infringement and misappropriation have been and are being

committed with actual knowledge of What A Smoke’s prior rights

in the “look and feel” of the What A Smoke packaging, and are

willful and in gross disregard of What A Smoke’s rights.

      43. By reason of the foregoing, What A Smoke is entitled to

injunctive relief against Defendants, and anyone associated

therewith, to restrain further acts of unfair competition and

trade dress infringement, and to recover any damages proven to

have been caused by reason of Defendants’ aforesaid acts of

unfair competition and trade dress infringement, and to recover

enhanced damages based upon the willful, intentional, and/or

grossly negligent activities of Defendants.

                                 COUNT III

         Unfair Competition and False Designation of Origin

                           15 U.S.C. § 1125(a)

      44.   What A Smoke incorporates all above allegations as if

set forth completely herein.

      45.   What A Smoke owns common law trademark rights in and

to the mark OPTIMUM in respect of “power sources, namely,

batteries, battery chargers and AC power adapters for electronic



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cigarettes”, and “atomizers, tanks, refill cartridges and

liquids for electronic cigarettes”. The OPTIMUM mark has been in

continuous use in interstate commerce by What A Smoke for at

least ten (10) years, and prior to any date, which can be

legally claimed by Defendants. What A Smoke’s mark is

distinctive by virtue of inherent distinctiveness and/or the

acquired distinctiveness in the mark, through What A Smoke’s

efforts of promoting its goodwill and reputation in the relevant

marketplace.

      46.   What A Smoke owns common law trademark rights to its

OPTIMUM mark in respect of a variety of goods, including

batteries, battery chargers and AC power adapters for electronic

cigarettes. The OPTIMUM mark has been in continuous use in

interstate commerce by What A Smoke prior to any date which can

be legally claimed by Defendants. Plaintiff’s mark is

distinctive by virtue of inherent distinctiveness and/or the

acquired distinctiveness in the mark, through What A Smoke’s

efforts of promoting its goodwill and reputation in the relevant

marketplace.

      47.   Defendants knowingly and willfully have been and

continue to advertise and sell its batteries bearing Plaintiff’s

OPTIMUM mark in the same price category without authorization by




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What A Smoke in the State of New Jersey, and across numerous

other states where What A Smoke and Defendants conduct business.

      48.   Use by Defendants of (i) the OPTIMUM mark and/or (ii)

packaging similar to Plaintiff’s unique contrasting color scheme

packaging in commerce, is likely to cause confusion and has

caused confusion, in the marketplace misleading the public into

thinking Defendants’ unauthorized use is somehow associated with

What A Smoke, causing competitive injury to What A Smoke, its

OPTIMUM mark, and its trade dress of the packaging.

      49.   Acts of Defendants as alleged herein constitute, among

other things, false designations of origin, false or misleading

descriptions of fact, or false or misleading representations of

fact which are likely to cause confusion or mistake, or to

deceive the public as to the origin, sponsorship, or approval of

the goods of Defendants, and otherwise constitute infringement

and unfair competition in violation of 15 U.S.C. § 1125(a).

      50.   As a direct and proximate result of Defendants’ acts,

What A Smoke has suffered injury, including irreparable injury,

and damages, including lost profits, reasonable royalties, and

other damages in an amount to be determined at trial.

                                 COUNT IV

 Common Law Trademark Infringement and Trade Dress Infringement,

                 N.J. Stat. Ann. §56:3-13a to -13.22



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      51.   What A Smoke incorporates all above allegations as if

set forth completely herein.

      52.   Plaintiff repeats and re-alleges each and every

allegation in the foregoing paragraphs as if fully set forth

herein. Plaintiff is the owner of common-law trademark rights in

Plaintiff’s Mark and Trade Dress in New Jersey and throughout

the United States. These rights are senior and superior to any

rights, which Defendants may claim. Defendants have used in

commerce, without Plaintiff’s consent, marks and trade dress

that are identical or confusingly similar to Plaintiff’s Mark

and Trade Dress. Defendants’ use of Plaintiff’s Mark and Trade

Dress is likely to cause consumer confusion, deception, or

mistake among consumers as to the origin, source, sponsorship,

affiliation, or approval by Plaintiff of Defendant’s goods, in

violation of New Jersey common law as preserved by New Jersey

Statute Annotated Section 56:3-13a to -13.22.

      53.   Defendant’s conduct as described above has been

intentional, willful, deliberate, malicious, and intended to

injure Plaintiff, in clear disregard of Plaintiff’s legal

rights. Plaintiff has no adequate remedy at law inasmuch as

money damages alone would not adequately compensate Plaintiff

for the harm to its rights, goodwill, and business reputation,

with every lost sale of Plaintiff’s. Defendant’s acts described



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above greatly and irreparably damage Plaintiff and will continue

to damage Plaintiff unless enjoined by this Court.

      54.   What A Smoke owns common law trademark rights in and

to the mark OPTIMUM for batteries. The OPTIMUM mark has been in

continuous use in interstate commerce by What A Smoke prior to

any date which can be legally claimed by Defendants. What A

Smoke’s mark is distinctive by virtue of inherent

distinctiveness and/or the acquired distinctiveness in the mark,

through What A Smoke’s efforts of promoting its goodwill and

reputation in the relevant marketplace.

      55.   What A Smoke owns common law trademark rights to its

OPTIMUM trademark with respect to batteries, and Trade Dress,

which have been in continuous use in interstate commerce by What

A Smoke prior to any date which can be legally claimed by

Defendants. The mark is distinctive by virtue of inherent

distinctiveness and/or the acquired distinctiveness in the mark,

through What A Smoke’s efforts of promoting its goodwill and

reputation in the relevant marketplace.

      56.   Defendants knowingly and willfully have been and

continue to advertise and sell its batteries bearing Plaintiff’s

OPTIMUM mark in the same price category without authorization by

What A Smoke in the State of New Jersey, and across numerous

other states where What A Smoke and Defendants conduct business.



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      57.   Use by Defendants of (i) the OPTIMUM mark and/or (ii)

packaging similar to Plaintiff’s unique contrasting color scheme

packaging in commerce, is likely to cause confusion and has

caused confusion, in the marketplace misleading the public into

thinking Defendants’ unauthorized use is somehow associated with

What A Smoke, causing competitive injury to What A Smoke, its

OPTIMUM mark, and its trade dress of the packaging.

      58.   Acts of Defendants as alleged herein constitute, among

other things, false designations of origin, false or misleading

descriptions of fact, or false or misleading representations of

fact which are likely to cause confusion or mistake, or to

deceive the public as to the origin, sponsorship, or approval of

the goods of Defendants, and otherwise constitute infringement

and unfair competition in violation of 15 U.S.C. § 1125(a).

      59.   As a direct and proximate result of Defendants’ acts,

What A Smoke has suffered injury, including irreparable injury,

and damages, including lost profits, reasonable royalties, and

other damages in an amount to be determined at trial.

      60.   Use by Defendants of (i) Plaintiff’s mark and/or (ii)

the unique packaging color scheme in commerce is likely to cause

confusion and has caused confusion, in the marketplace

misleading the public into thinking Defendants’ unauthorized use

is somehow associated with What A Smoke, causing competitive



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injury to What A Smoke, its OPTIMUM mark and the distinct

packaging.

       61. On information and belief, Defendants acted with

knowledge of What A Smoke’s ownership of (i) OPTIMUM mark and

(ii) Plaintiff’s packaging, and with deliberate intention or

willful blindness to unfairly benefit from the goodwill

associated with same.

       62. Defendants’ acts constitute trademark infringement and

unfair competition in violation of the common law of New Jersey.

       63. On information and belief, Defendants have made and

will continue to make substantial profits and gains to which

either is not in law or equity entitled.

       64. On information and belief, Defendants will continue

infringing acts, unless restrained by this Court.

       65. Defendants’ acts have damaged and will continue to

damage What A Smoke, and What A Smoke has no adequate remedy at

law.

       66. The conduct herein complained of was extreme and was

inflicted on What A Smoke in reckless disregard for its rights.

The conduct was in bad faith, harmful to What A Smoke, and as

such supports an award of exemplary and punitive damages in an

amount sufficient to punish Defendants and deter such conduct in

the future.



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      67.   Defendants’ appropriation and actual use in connection

with infringement of What A Smoke’s trademark (i) OPTIMUM and

(ii) distinct packaging and the goodwill and reputation

associated therewith and attached thereto, constitutes unfair

competition in violation of New Jersey State Law, i.e., New

Jersey Statute Annotated Section 56:4-1 et seq.

      68. In light of the foregoing, What A Smoke is entitled to

injunctive relief prohibiting Defendants from infringing the

OPTIMUM mark and distinct packaging, and to recover all damages,

including attorneys’ fees, that What A Smoke has sustained and

will sustain, and all gains, profits, and advantages obtained by

Defendants as a result of their infringing acts alleged above in

an amount not yet known, and the costs of this action.

                                  COUNT V

                            Unjust Enrichment

      69. What A Smoke re-alleges every allegation in the

preceding paragraphs.

      70. The acts complained of above constitute unjust

enrichment of Defendants at the expense of What A Smoke in

violation of the common law of the State of New Jersey.

                                    COUNT VI

                              Fraud on the USPTO




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      77.   What A Smoke re-alleges every allegation in the

preceding paragraphs.

      78.   Duracell's use of the Plaintiff’s OPTIMUM mark is

willful an intentional. Duracell first became aware, or should

have become aware, of What A Smoke’s OPTIMUM mark when it filed

its own trademark applications for OPTIMUM and DURACELL OPTIMUM

trademarks in Class 9 on November 12, 2018, after a reasonable

inquiry and exercise of due diligence.

      79.   A routine due diligence trademark clearance search of

the USPTO records before filing of Duracell’s two trademark

applications should have revealed What A Smoke’s two trademark

registrations for OPTIMUM in Class 9.

      80.   Duracell submitted a declaration with the applications

to the USPTO to the effect that to the best of its belief no

other person has the right to use the mark so that such use

would cause confusion, mistake, or deception, and Defendant was

warned in the declaration that it signed that there was a

penalty associated with willfully false statements in the

application.

      81.   The filing by Duracell of its two trademark

applications with the USPTO for OPTIMUM and DURACELL OPTIMUM was

a willful misstatement and misrepresentation of facts with




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blatant disregard of the senior trademark rights of What A Smoke

and fraud on the US Patent and Trademark Office.



                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands a trial by jury and requests

that the Court enter judgment as follows:

      (a)   Issue a permanent injunction against Defendants’ use

            of the OPTIMUM and DURACELL OPTIMUM trademarks

            effective immediately;

      (b)   Issue an order prohibiting Defendants from selling,

            offering for sale, and advertising their goods under

            the OPTIMUM and DURACELL OPTIMUM trademarks effective

            immediately;

      (c)   Issue an order prohibiting Defendants from advertising

            their goods under the OPTIMUM and DURACELL OPTIMUM

            trademarks on their website and elsewhere on the

            Internet effective immediately;

      (d)   Issue an order to remove Defendants’ webpage

            https://www.duracell.com/en-us/campaign-optimum/ which

            Defendants are using in order to infringe on

            Plaintiff’s trademark, effective immediately;

      (e)   Enter judgment against Defendants in favor of What A

            Smoke for the violations alleged in this Complaint;



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      (f)   Compelling Defendants to account to What A Smoke for

            any and all profits derived by Defendants as a result

            of their infringing acts;

      (g)   Award What A Smoke all damages sustained by it as a

            result of Defendants’ wrongful acts and all profits

            realized by Defendants due to its wrongful acts,

            pursuant to trademark infringement under 15 U.S.C §

            1121(a), fraud on the USPTO under 15 U.S.C. §1120, and

            unfair competition pursuant to 28 U.S.C. § 1338(b);

      (h)   At What A Smoke’s election, awarding statutory damages

            in the maximum amount against What A Smoke for

            infringement of What A Smoke’s trademark, pursuant to

            trademark infringement under 15 U.S.C § 1121(a), fraud

            on the USPTO under 15 U.S.C. §1120, and unfair

            competition pursuant to 28 U.S.C. § 1338(b);;

      (i)   Award attorneys' fees and costs pursuant to 15 U.S.C §

            1117(a);

      (j)   Directing Defendants to pay over to What A Smoke its

            costs, disbursements and reasonable attorneys’ fees

            and expenses, together with pre-judgment interest

            incurred by What A Smoke in relation to trying to stop

            the infringement by the Defendants by way of

            contacting Defendants through Plaintiff’s attorneys,



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            demanding that Defendants in fact stop such

            infringement;

      (k)   For a preliminary and permanent injunction,

            restraining Defendants and its affiliates, divisions,

            officers, directors, principals, servants, employees,

            successors and assigns, and all those in active

            concert or participation with it from:

                 i. Directly or indirectly infringing in any manner

                    What A Smoke’s trademark and trade dress; and

               ii. From causing, contributing to, enabling,

                    facilitating, or participating in the

                    infringement of What A Smoke’s trademark, trade

                    dress, or other exclusive rights;

      (l)   Order Defendants to pay discretionary costs and

            prejudgment interest;

      (m)   Order an accounting for any OPTIMUM or DURACELL

            OPTIMUM branded products not presented at trial and an

            award by the Court of additional damages for any such

            products;

      (n)   Order Defendants including all agents, officers,

            employees, representatives, successors, assigns,

            attorneys, and all other persons acting for, with, by,

            through or under authority from Defendants or in



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            concert or participation with Defendants, and each of

            them, be enjoined from:

                 a. advertising, marketing, promoting, offering

            for sale, distributing, or selling bearing the

            infringing trademarks or trade dress;

                 b. using the infringing trademarks and/or trade

            dress on or in connection with any of Defendants’

            goods;

                 c. using any trademark, name, logo, design, or

            source designation of any kind on or in connection

            with What A Smoke’s goods or services that is a copy,

            reproduction, colorable imitation, or simulation of,

            or confusingly similar to any of What A Smoke’s

            trademarks, trade dresses, names, or logos; and,

                 e. using any trademark, name, logo, design, or

            source designation of any kind on or in connection

            with What A Smoke’s goods that is likely to cause

            confusion, mistake, deception, or public

            misunderstanding that such goods or services are

            produced or provided by What A Smoke, or are sponsored

            or authorized by What A Smoke, or are in any way

            connected or related to What A Smoke;




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      (o)   Defendants be ordered to cease offering for sale,

            marketing, promoting, and selling and to recall all

            infringing goods, or any other goods bearing the What

            A Smoke mark or trade dress or any other a confusingly

            similar imitation thereof that is in Defendants’

            possession or has been shipped by Defendants or under

            their authority, to any customer, including, but not

            limited to, any wholesaler, distributor, retailer,

            consignor, or marketer, and also to deliver to each

            such store or customer a copy of this Court’s order as

            it relates to said injunctive relief against

            Defendants, including posting same on any and all

            website and media owned or controlled, or not owned or

            controlled, by Defendants including but not limited to

            Duracell and    YouTube websites;

      (p)   Defendants be ordered to deliver up for impoundment

            and for destruction, all goods, boxes, labels, tags,

            signs, packages, receptacles, advertising, sample

            books, promotional materials, stationery, or other

            materials in the possession, custody or under the

            control of Defendants that are found to adopt or

            infringe any of What A Smoke’s trademarks or trade




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            dress, or that otherwise unfairly compete with What A

            Smoke and its products;

      (q)   Defendants be compelled to account to What A Smoke for

            any and all profits derived by Defendants from the

            sale or distribution of the goods bearing the

            infringing trademark and trade dress;

      (r)   Retaining jurisdiction of this action in this Court

            for the purpose of enabling What A Smoke to apply to

            the Court at any time for such further orders and

            interpretation or execution of any order entered in

            this action, for the modification of such order, for

            the enforcement or compliance therewith, and for the

            punishment of any violation thereof;

      (s)   Require Defendants to publish on his website, and

            anywhere else they mention OPTIMUM or DURACELL

            OPTIMUM, to state that OPTIMUM and the distinct

            Plaintiff’s packaging are sole property of What A

            Smoke and that any prior statements of association

            with What A Smoke or OPTIMUM are false and that this

            statement has been ordered by a Federal Court;

      (t)   That Defendants unjustly enriched themselves and that

            What A Smoke be awarded damages arising out of the

            unjust enrichment;



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      (u)   That What A Smoke asks this Court to enter judgment in

            favor of it finding that Defendants violated the

            Lanham Act;

      (v)   Ordering that the US Customs and Border Protection

            heretofore seizes and arrests any and all of

            Defendants’ infringing goods, such as the batteries

            bearing the infringing trademarks and trade dress in

            question, that violate Plaintiff’s trademark rights,

            trade dress and other rights;

      (w)   Enjoining Defendants from making false and misleading

            descriptions of fact to potential customers and to the

            consuming public;

      (x)   Awarding prejudgment interest and costs;

      (y)   Finding this to be an exceptional case and awarding

            reasonable attorneys’ fees to What A Smoke;

      (z)   Based on Defendants willful and deliberate

            infringement, and to deter such conduct in the future,

            What A Smoke requests punitive damages including

            prejudgment and post-judgment interest on all monetary

            awards, and to award treble damages to Plaintiff;

      (aa) Grant What A Smoke such other and further relief, at

            law or in equity, to which What A Smoke is justly

            entitled.



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                                JURY DEMAND

      Plaintiff demands a trial by jury on all issues permitted

to be tried by jury.



/S/ Sergei Orel                    Date: __August 13, 2019___



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